                           NO. 07-09-0237-CR

                        IN THE COURT OF APPEALS

                   FOR THE SEVENTH DISTRICT OF TEXAS

                              AT AMARILLO

                                PANEL C

                            SEPTEMBER 8, 2010








                       ROY DEAN GATES, APPELLANT


                                   v.


                      THE STATE OF TEXAS, APPELLEE





             FROM THE 299TH DISTRICT COURT OF TRAVIS COUNTY;

         NO. D-1DC-08-301065; HONORABLE CHARLES F. BAIRD, JUDGE





Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                           MEMORANDUM OPINION

      Appellant, Roy Dean Gates, was convicted by a jury of  aggravated
assault using a deadly weapon in a manner capable of causing  death  or
serious bodily injury to a member of his household  or  a  person  with
whom he had a dating relationship.[1]  He was sentenced  to  twenty-two
years confinement.[2]  In presenting his appeal, counsel has  filed  an
Anders[3]  brief  in  support  of  a  motion  to  withdraw.   We  grant
counsel's motion and affirm.

      In support of his motion to withdraw, counsel  certifies  he  has
conducted a  conscientious  examination  of  the  record  and,  in  his
opinion, the record reflects no potentially plausible basis to  support
an appeal.  Anders v. California, 386 U.S. 738, 744-45, 87 S.Ct.  1396,
18  L.Ed.2d  493  (1967);  In  re  Schulman,  252   S.W.3d   403,   406(Tex.Crim.App.  2008).   Counsel  candidly  discusses  why,  under  the
controlling authorities, the appeal is frivolous.  See High  v.  State,
573  S.W.2d  807,  813  (Tex.Crim.App.   1978).    Counsel   has   also
demonstrated that he has complied with the requirements of  Anders  and
In re Schulman by (1) providing a copy of the brief to  Appellant,  (2)
notifying him of his right to file a pro se response if he  desired  to
do so, and (3) informing him of his right to file  a  pro  se  petition
for discretionary review.  In re Schulman, 252 S.W.3d at  408.[4]   The
State filed its response to Appellant's brief indicating its  agreement
that there is  no  meritorious  ground  of  error  and  the  appeal  is
frivolous.  And, by letter, this Court granted Appellant  an  extension
of nearly six weeks to  exercise  his  right  to  file  a  response  to
counsel's brief should he be so inclined.  Id. at 409 n.23.   Appellant
did not file a response.

      We have reviewed counsel's arguments and  we  have  independently
examined the entire record to determine  whether  there  are  any  non-
frivolous issues which might support the appeal.  See Penson  v.  Ohio,
488 U.S. 75, 80, 109 S.Ct. 346, 102 S.Ct. 346, 102 L.Ed.2d 300  (1988);
In re Schulman, 252 S.W.3d at 409; Stafford v. State, 813  S.W.2d  503,
511 (Tex.Crim.App. 1991).  We have found no such issues.   See  Gainous
v. State, 436 S.W.2d 137, 138 (Tex.Crim.App.  1969).   After  reviewing
the record and counsel's brief, we agree with counsel  that  there  are
no plausible grounds for appeal.  See  Bledsoe  v.  State,  178  S.W.3d
824, 826-27 (Tex.Crim.App. 2005).

      Accordingly, counsel's motion to  withdraw  is  granted  and  the
trial court's judgment is affirmed.



                                             Patrick A. Pirtle
                                                   Justice

Do not publish.
-----------------------
[1]Tex. Penal Code Ann. § 22.02(a)(1),(2) (Vernon Supp. 2009).

[2]As indicted the offense was punishable as a first degree felony.
Tex. Penal Code Ann. § 22.02(b)(1) (Vernon Supp. 2009).

[3]Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493(1967).

[4]Notwithstanding that Appellant was informed of his right to  file  a
pro se petition for discretionary review upon execution  of  the  Trial
Court's Certification of Defendant's  Right  of  Appeal,  counsel  must
comply with Rule 48.4 of the Texas Rules of Appellate  Procedure  which
provides that counsel shall within five  days  after  this  opinion  is
handed down,  send  Appellant  a  copy  of  the  opinion  and  judgment
together with notification of his right to file a pro se  petition  for
discretionary review.  Tex. R. App. P. 48.4.  See In re  Schulman,  252
S.W.2d at 408 n.22 &amp; 411 n.35.



